                                       Case 4:19-cv-06669-JST Document 84 Filed 02/08/21 Page 1 of 5



                                1   BUCHALTER
                                    A Professional Corporation
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                                5   apleaufuller@buchalter.com

                                6   Attorneys for Defendants
                                    ONE TOUCH DIRECT, LLC, and
                                7   ONETOUCH DIRECT- SAN ANTONIO LLC

                                8
                                                                  UNITED STATES DISTRICT COURT
                                9
                                                                 NORTHERN DISTRICT OF CALIFORNIA
                           10
                                    ROBERT ROSS,                                  Case No. 4:19-cv-6669-JST
                           11
                                                    Plaintiff,                    JOINT STIPULATION AND REQUEST
                           12                                                     TO CONTINUE TRIAL AND OTHER
                                            vs.                                   RELATED DATES IN THE SCHEDULING
                           13                                                     ORDER; AND [PROPOSED] ORDER
                                    AT&T MOBILITY, LLC, ONE TOUCH
                           14       DIRECT, LLC, and ONE TOUCH DIRECT-            CURRENT TRIAL DATE: November 29,
                                    SAN ANTONIO, LLC,                             2021
                           15                                                     REQUESTED TRIAL DATE: February 28,
                                                    Defendant.                    2022
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        SACR AMENTO                  JOINT STIPULATION TO CONTINUE DATES IN THE                       Case No. 4:19-cv-6669-JST
                                     SCHEDULING ORDER
                                    BN 43915890v6
                                         Case 4:19-cv-06669-JST Document 84 Filed 02/08/21 Page 2 of 5



                                1            Plaintiff, Robert Ross (“Plaintiff”), and Defendants, AT&T Mobility, LLC, One Touch
                                2   Direct, LLC (“OTD”), and OneTouch Direct – San Antonio LLC (“OTD-SA”) (collectively,
                                3   “OTD Defendants”), through their counsel of record, hereby respectfully request that the Court
                                4   continue the scheduled trial date and related dates pursuant to Civ. L.R. 7 and 40-1. The Plaintiff
                                5   and Defendants (are collectively, referred to as the “Parties”).
                                6            IT IS HEREBY STIPULATED by and between the Parties as follows:
                                7   A.       Background Information
                                8            1.     Plaintiff filed his Complaint on October 17, 2019. (Dkt. 1.)
                                9            2.     On May 19, 2020, the Court issued a Scheduling Order (Dkt. 42), which set
                           10       various dates for the case.
                           11                3.     On December 18, 2020, the Court granted Plaintiff’s Motion to File First
                           12       Amended Complaint, naming the OTD Defendants as defendants for the first time in the matter.
                           13       (Dkt. 69.)
                           14                4.     Due to the OTD Defendants being recently added as defendants, on January 29,
                           15       2021 they filed their answer to Plaintiff’s First Amended Complaint. However, discovery is set
                           16       to close in less than three (3) months.
                           17                5.     Accordingly, as the OTD Defendants are new parties to the case, the Parties
                           18       respectfully request that the current dates in the Scheduling Order be extended by approximately
                           19       three (3) months to accommodate discovery prior to trial. Below are the proposed continued
                           20       dates.
                           21        Event                             Current Deadline                New Deadline
                                     Deadline to add parties or        June 4, 2020                    June 4, 2020
                           22
                                     amend the pleadings
                           23        Fact discovery cut-off            April 9, 2021                   July 8, 2021
                                     Mediation deadline
                           24        Expert disclosure                 April 23, 2021                  July 22, 2021
                                     Expert rebuttal                   May 28, 2021                    August 26, 2021
                           25
                                     Expert discovery cut-off          June 16, 2021                   September 14, 2021
                           26        Deadline to file dispositive      July 14, 2021                   October 12, 2021
                                     motions
                           27        Pretrial conference statement     October 29, 2021                January 27, , 2022
                                     due
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        SACR AMENTO                  JOINT STIPULATION TO CONTINUE DATES IN THE                                    Case No. 4:19-cv-6669-JST
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                                     Event                             Current Deadline                  New Deadline
                                2    Pretrial conference               November 5, 2021 at 2:00 pm       February 3, 2022, 2022
                                     Trial                             November 29, 2021                 February 28, 2022
                                3
                                     Estimated trial length (in        Ten                               Ten
                                4    days)

                                5           6.      Good cause exists to continue the trial and related dates as OTD and OTD-SA

                                6   have not had an opportunity to fully evaluate their defenses in the case and will need to conduct

                                7   discovery. (Declaration of Alissa R. Pleau-Fuller filed concurrently herewith (“Pleau-Fuller

                                8   Decl.”), ¶ 3.) This will require more time and a continuance of at least 90 days as to the various

                                9   Scheduling Order dates. (Id.)

                           10               7.      This is the first continuance requested by the Parties.

                           11       IT IS SO STIPULATED.

                           12       DATED: February 8, 2021                        BUCHALTER, A Professional Corporation

                           13

                           14                                                      By:          /s/ Kevin T. Collins
                                                                                                      KEVIN T. COLLINS
                           15                                                                     ALISSA R. PLEAU-FULLER
                                                                                                     Attorneys for Defendants
                           16                                                                 ONE TOUCH DIRECT, LLC, and ONE
                                                                                             TOUCH DIRECT- SAN ANTONIO, LLC
                           17

                           18       DATED: February 8, 2021                        AFFELD GRIVAKES LLP

                           19

                           20                                                      By:          /s/ Christopher Grivakes
                                                                                                 CHRISTOPHER GRIVAKES
                           21                                                                        DAMION ROBINSON
                                                                                                     Attorneys for Plaintiff
                           22                                                                           ROBERT ROSS

                           23
                                    DATED: February 8, 2021                        GIBSON, DUNN & CRUTCHER LLP
                           24

                           25
                                                                                   By:           /s/ Ashley Johnson
                           26                                                                        MARCELLUS MCRAE
                                                                                                      ASHLEY JOHNSON
                           27                                                                         Attorneys for Defendant
                                                                                                      AT&T Mobility, LLC
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      BUCHALTER
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        SACR AMENTO                  JOINT STIPULATION TO CONTINUE DATES IN THE                                   Case No. 4:19-cv-6669-JST
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                                1           I, the undersigned, hereby attest that the other signatories have concurred in the filing of
                                2   this document as indicated by a conformed signature (/s/) within this e-filed document.
                                3
                                    DATED: February 8, 2021                       BUCHALTER, A Professional Corporation
                                4

                                5
                                                                                  By:        /s/ Alissa R. Pleau-Fuller
                                6                                                                   KEVIN T. COLLINS
                                                                                               ALISSA R. PLEAU-FULLER
                                7                                                                 Attorneys for Defendants
                                                                                        ONE TOUCH DIRECT, LLC, and ONETOUCH
                                8                                                            DIRECT- SAN ANTONIO, LLC
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        SACR AMENTO                  JOINT STIPULATION TO CONTINUE DATES IN THE                                  Case No. 4:19-cv-6669-JST
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                                1                                       [PROPOSED] ORDER
                                2           Having read and considered the Joint Stipulation and Requests to Continue Trial and
                                3   Other Related Dates in the Scheduling Order, and for good cause shown, the Stipulation is
                                4   approved. The Court approves the Stipulation and Orders as follows:
                                5    Event                           Current Deadline                New Deadline
                                     Deadline to add parties or      June 4, 2020                    June 4, 2020
                                6
                                     amend the pleadings
                                7    Fact discovery cut-off          April 9, 2021                   July 8, 2021
                                     Mediation deadline
                                8    Expert disclosure               April 23, 2021                  July 22, 2021
                                     Expert rebuttal                 May 28, 2021                    August 26, 2021
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                                     Expert discovery cut-off        June 16, 2021                   September 14, 2021
                           10        Deadline to file dispositive    July 14, 2021                   October 12, 2021
                                     motions
                           11        Pretrial conference statement   October 29, 2021                January 27, 2022
                                     due
                           12        Pretrial conference             November 5, 2021 at 2:00 pm     February 3, 2022
                           13        Trial                           November 29, 2021               February 28, 2022
                                     Estimated trial length (in      Ten                             Ten
                           14        days)

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                           16       PURSUANT TO STIPULATION, IT IS SO ORDERED.

                           17
                                    Dated: ________________                               ___________________________________
                           18
                                                                                          HON. JON S. TIGAR
                           19                                                             United States District Court Judge

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        SACR AMENTO                  JOINT STIPULATION TO CONTINUE DATES IN THE                                Case No. 4:19-cv-6669-JST
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